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 1 PHILLIP A. TALBERT
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4575
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 1:17CR00155 LJO-SKO
12                                  Plaintiff,
13                  v.                                       STIPULATION REGARDING
                                                             CONTINUANCE AND
14   MARIO ALVAREZ-MUNIZ,                                    EXCLUDABLE TIME PERIODS
                                                             UNDER SPEEDY TRIAL ACT;
15                                  Defendant.               FINDINGS AND ORDER
16                                                           UNDER SEAL
17

18
                                                 STIPULATION
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              Plaintiff United States of America, by and through its counsel of record, and defendant, by
20
     and through his counsel of record, hereby stipulate as follows:
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22            1.     By previous order, Chief District Judge Lawrence J. O’Neill set this matter for a

23 status conference on October 16, 2017, at 1 p.m. and time was ordered excluded in the interest of

24 justice.

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              2.     By this stipulation, due to the unavailability of the Court, the parties move to continue
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     the matter to October 30, 2017, at 1:00 p.m.
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              3.     The parties agree and stipulate, and request that the Court find the following:
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            a.      The Court is unavailable on October 16.
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            b.      Counsel for the parties believe that additional time is warranted to review discovery,
 2

 3 respond to pretrial motions, and to consider the government’s plea offer.

 4          d.      Based on the above-stated findings, the ends of justice served by continuing the case
 5 as requested outweigh the interest of the public and the defendant in a trial within the original date

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     prescribed by the Speedy Trial Act.
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            e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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     seq., within which trial must commence, the time period of October 16, 2017, to October 30, 2017,
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10 inclusive, is deemed excludable, pursuant to 18 U.S.C. § 3161(h)(7)(A), for the purpose of trial

11 preparation and plea negotiations. The parties further agree that the ends of justice served by

12 excluding time to and through October 30 outweigh the best interest of the public in a speedy trail

13          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
14
     the Speedy Trial Act dictate that additional time periods are excludable from the period
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     within which a trial must commence.
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            IT IS SO STIPULATED.
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18 DATED:           August 16, 2017.       Respectfully submitted,

19                                         PHILLIP A. TALBERT
                                           United States Attorney
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                                           /s/ Karen A. Escobar
21                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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24 DATED:           August 16, 2017.

25                                         /s/ Andy Miri
                                           ANDY MIRI
26                                         Counsel for Defendant Alvarez-Muniz

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                                           ORDER
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 2 IT IS SO ORDERED.

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     Dated:     August 17, 2017                        /s/   Sheila K. Oberto     .
 4                                             UNITED STATES MAGISTRATE JUDGE
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